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 1    UNITED STATES DISTRICT COURT
      EASTERN DISTRICT OF NEW YORK
 2    --------------------------------x
                                               09 CR 466(BMC)
 3    UNITED STATES OF AMERICA
                                               United States Courthouse
 4            versus                           Brooklyn, New York

 5    JOAQUÍN ARCHIVALDO GUZMÁN LOERA,
                                               February 6, 2019
 6                   Defendant.                9:30 a. m.
      --------------------------------x
 7
                  TRANSCRIPT OF CRIMINAL CAUSE FOR JURY TRIAL
 8                    BEFORE THE HONORABLE BRIAN M. COGAN
                         UNITED STATES DISTRICT JUDGE
 9

10                                   APPEARANCES

11

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                         Lisa Schmid, CCR, RMR
                        Official Court Reporter
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      Proceedings recorded by mechanical stenography.          Transcript
25    produced by computer-aided transcription.
                         Lisa Schmid, CCR, RMR
                        Official Court Reporter
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 1    (In open court, outside the presence of the jury at 3:15 p. m.)

 2               THE CLERK:    All rise.

 3               THE COURT:    Everybody be seated, please.

 4               Note number 10, Court Exhibit 10, from the jury is two

 5    parts.   The first part is, "Can we please get a copy of the

 6    testimonies of Rey Zambada and Damaso Lopez and Vicente

 7    Zambada?"    I'll leave it to the parties to put all that

 8    together.

 9               The second part of that question is -- second part of

10    the note is, "If members of a drug cartel are killed from an

11    opposing cartel for personal reasons, does that constitute as a

12    drug trafficking crime?"

13               The defense can go first on this one.

14               MR. PURPURA:    A simple no.

15               THE COURT:    Okay.

16               MR. PURPURA:    No, it doesn't.     If you have the same

17    thing here.    You had a conspiracy in New York and trafficking

18    drugs and someone kills someone because they're having an

19    affair with their wife, then it's not part of the conspiracy.

20    And that's their question.

21               MS. PARLOVECCHIO:     With the hypothetical that Mr.

22    Purpura proposed, if someone called killed somebody else

23    because of, you know, a girlfriend --

24               THE COURT:    Personal reasons.

25               MS. PARLOVECCHIO:     Personal reasons, but I don't
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                        Official Court Reporter
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 1    know -- could we get more information on personal reasons?

 2               THE COURT:    Personal reasons.

 3               The way I propose to answer it is to say, "If members

 4    of a drug cartel are killed by an opposing cartel for wholly

 5    personal reasons, that does not constitute a drug trafficking

 6    crime."

 7               MS. PARLOVECCHIO:     (Nods head affirmatively.)

 8    Purchase.

 9               MR. PURPURA:    That's acceptable.     I think that's

10    appropriate.

11               THE COURT:    Let's have them in, please.

12               Oh, I should mention that the second note is, "Can we

13    leave at 4:15?"

14               MR. BALAREZO:    3:30, Your Honor.

15               MS. PARLOVECCHIO:     Your Honor, could we say wholly

16    personal reasons unrelated to drug tracking?          So if that was

17    the only reason --

18               THE COURT:    Yes.

19               MR. LICHTMAN:    That's redundant.

20               THE COURT:    It's a little redundant, but it doesn't

21    hurt.

22               MR. PURPURA:    We could simply say, "For reasons

23    unrelated to drug trafficking do not constitute" --

24               THE COURT:    I'm going to use more words instead of

25    less to make sure everything is covered.
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 1               (Jury enters.)

 2               THE COURT:    All right.    Everyone be seated.

 3               Hello, ladies and gentlemen.

 4               We have your two notes, the first in two parts saying,

 5    "Can we please get a copy of the testimonies of Rey Zambada and

 6    Damaso Lopez and Vicente Zambada?"

 7               And the answer is, yes, you can.       We'll get that to

 8    you, and note again that you've asked for the whole testimony,

 9    so it's going to take a little time to put that together, but

10    we will do that for you.

11               The second part of your question says, "If members of

12    a drug cartel are killed from an opposing cartel for personal

13    reasons, does that constitute as a drug trafficking crime?"

14               And the answer to that, ladies and gentlemen, is if

15    members of a drug cartel are killed by an opposing cartel for

16    wholly personal reasons not related to drug trafficking, then

17    that does not constitute a drug trafficking crime.

18               And we have your second note which says, "Can we

19    please leave at 4:15?"      The answer to that, again, is yes.

20               I will remind you of the admonition that you'll

21    operate under now, so that I don't have to call you back in

22    here at 4:15.     The marshals will just come and get you.

23               But please, remember stay away from any media

24    coverage.    Do not do any research on the case.        Do not talk to

25    anybody about the case.      Once you leave that jury room, do not
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                        Official Court Reporter
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 1    even talk to each other about that case, not in, you know, when

 2    you're coming together, when you're separating.          You can't

 3    discuss it at all until all 12 of you are back in that room

 4    tomorrow.    When the twelfth person walks in, then you can start

 5    deliberating again.

 6               Ms. Clarke also mentioned to me that you thought you

 7    might have a problem deliberating Friday.         Is that right?     Is

 8    that the consensus?

 9               JUROR NUMBER ONE:     For me.

10               THE COURT:    Okay.   I'm going to check with you again.

11    Things may not change, but if you really can't deliberate on

12    Friday, all of you, then we won't, but I would like you to try

13    to clear that day if you possibly can, but if you can't, I

14    understand.    That's not what we had in advance.

15               Okay.    Have a good evening.     Obviously, if between now

16    and 4:15, you have more notes you want to send, feel free to do

17    that.

18               (Jury exits.)

19               THE COURT:    Okay.   We're in recess.

20               (Recess.)

21            (Trial adjourned to February 7, 2019, at 9:30 a. m.)

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                         Official Court Reporter
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                        Official Court Reporter
